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 1                                                           THE HONORABLE BENJAMIN H. SETTLE

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 6
                                       UNITED STATES DISTRICT COURT
 7                                    WESTERN DISTRICT OF WASHINGTON
                                                AT SEATTLE
 8

 9       COMMANDER EMILY SHILLING, et al.,                        No. 2:25-cv-241-BHS

10                      Plaintiffs,                               NOTICE PURSUANT TO THE
                                                                  COURT’S ORDER
11             v.

12       DONALD J. TRUMP, in his official capacity as
         President of the United States, et al.,
13
                        Defendants.
14

15             The Court’s March 4, 2025 Minute Order requires Defendants to notify Plaintiffs and the

16   Court if the Department of Defense or its subsidiaries “issues any policy or guidance

17   implementing the challenged Executive Orders in the military.”

18             At this time, Defendants are aware of the following such documents (new item(s) in bold):

19       28 Jan 2025         Dep’t of the Navy, Navy Recruiting Command, Decision Guidance
                             Memorandum #N00-30: Processing of Applicants Identifying as
20
                             Transgender.1
21       31 Jan 2025         Secretary of Defense, Defending Women from Gender Ideology Extremism
                             and Restoring Biological Truth to the Federal Government.2
22       04 Feb 2025         Dep’t of the Air Force, Office of the Assistant Secretary, Implementation of
                             Executive Order 14168, Defending Women from Gender Ideology Extremism
23                           and Restoring Biological Truth to the Federal Government.3
24   1
         ECF No. 58-1
25   2
         ECF No. 58-2
     3
26     See https://www.af.mil/News/Article-Display/Article/4054626/daf-releases-memorandum-on-implementation-of-
     executive-order-14168-defending-wo/
         NOTICE PURSUANT TO THE                                                                  U.S. DEPARTMENT OF
         COURT’S ORDER                                                                                  JUSTICE
         CASE NO. 2:25-CV-241-BHS                                                                   1100 L Street NW
                                                                                                  Washington, DC 20530
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 1   04 Feb 2025       Dep’t of the Army, Office of the Assistant Secretary for Manpower and
                       Reserve Affairs: Implementing Guidance for Executive Order Defending
 2
                       Women.4
 3   07 Feb 2025       Secretary of Defense, Prioritizing Military Excellence and Readiness.5
     07 Feb 2025       Dep’t of the Army, Implementation of Executive Orders Related to
 4                     Transgender Military Service (“EXORD 150-25”).6
     14 Feb 2025       Dep’t of the Army, Fragmentary Order (“FRAGO”) 1, amending EXORD
 5                     150-25 (above).7
 6   26 Feb 2025       Office of the Under Secretary of Defense, Additional Guidance on
                       Prioritizing Military Excellence and Readiness.8
 7   28 Feb 2025       Office of the Under Secretary of Defense, Clarifying Guidance on
                       Prioritizing Military Excellence and Readiness.9
 8   01 Mar 2025       Dep’t of the Air Force, Acting Assistant Sec’y for Manpower & Readiness,
                       Additional Guidance for Executive Order 14183, ‘Prioritizing Military
 9
                       Excellence and Readiness.’10
10   04 Mar 2025       Office of the Undersecretary of Defense, Clarifying Guidance on Prioritizing
                       Military Excellence and Readiness: Retention and Accession Waivers.11
11   06 Mar 2025       Sec’y of the Army, Prioritizing Military Excellence and Readiness
                       Implementation Guidance.12
12   07 Mar 2025       Dep’t of the Army, Implementing Guidance for Executive Order (EXORD
13                     175-25) (superseding EXORD 150-25, above).13
     13 Mar 2025       Sec’y of the Navy, Initial Direction on Prioritizing Military Excellence and
14                     Readiness. 14
     13 Mar 2025       Chief of Naval Operations, Initial Execution Related to Prioritizing Military
15                     Excellence and Readiness (NAVADMIN 055/25).15
     14 Mar 2025       Commandant of the Marine Corps, Initial Guidance on Prioritizing Military
16
                       Excellence and Readiness. (MARADMINS 128/25). 16
17

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19        4
            ECF No. 58-3
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            ECF No. 58-4
20        6
            ECF No. 58-5
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21          ECF No. 58-6
          8
            ECF No. 58-7
22        9
            ECF No. 58-8
          10
             ECF No. 58-9
23        11
             ECF No. 64-1.
          12
24           ECF No. 68-1.
          13
             ECF No. 68-2.
25        14
             ECF No. 75-1.
          15
             ECF No. 79-1.
26        16
             ECF No. 77-1.
     NOTICE PURSUANT TO THE                                                           U.S. DEPARTMENT OF
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 1   21 Mar 2025        Office of the Undersecretary of Defense for Personnel & Readiness,
                        Prioritizing Military Excellence and Readiness: Military Department
 2
                        Identification.17
 3   21 Mar 2025        Office of the Undersecretary of Defense for Personnel & Readiness,
                        Compliance with Federal Court Order in Talbott v. United States, No. 25-
 4                      cv-00240 (D.D.C.)18
 5

 6   DATE: March 21, 2025             Respectfully submitted,

 7                                    YAAKOV M. ROTH
                                      Acting Assistant Attorney General
 8
                                      ALEXANDER K. HAAS
 9                                    Director, Federal Programs Branch
10                                    JEAN LIN
                                      Special Litigation Counsel
11
                                      /s/ John Robinson
12                                    JASON C. LYNCH
                                      JOHN ROBINSON
13                                    ELIZABETH B. LAYENDECKER
                                      Trial Attorneys
14                                    United States Department of Justice
                                      Civil Division, Federal Programs Branch
15                                    1100 L Street NW
                                      Washington, DC 20005
16                                    Telephone: 202.616.8489
                                      john.j.robinson@usdoj.gov
17
                                      Attorneys for Defendants
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                ECF No. 92-1.
26         18
                Exhibit 1.
     NOTICE PURSUANT TO THE                                                          U.S. DEPARTMENT OF
     COURT’S ORDER                                                                          JUSTICE
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